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 ~AO 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1


                                                                                                                   SEP 272011
                                      UNITED STATES DISTRICT COURT
                                                         Eastern District of Arkansas               Jl'UlllO\'I)¥1":P1'
                                                                                                    BY:--f:!".tE,)~~t.-1Ioooli~~F!JF.'::::i;hf
          UNITED STATES OF AMERICA                                      Judgment in a Criminal Case
                             v.                                         (For Revocation of Probation or Supervised Release)
          GWENDOLYN MCCULLOUGH

                                                                        Case No. 4:04CR00291-10 JLH
                                                                        USM No. 23548-009
                                                                        Justin Eisele
                                                                                                Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)          Special, 2, 3, General           of the term of supervision.
D was found in violation of condition(s)              _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                               Violation Ended
Special                           Failure to participate in substance abuse treatment as directed              08/01/2011

2                                 Failure to submit truthful report to probation officer                       08/16/2011

3                                 Failure to follow instructions of probation officer                       08/01/2011

General                           Unlawful use of controlled substance                                      07/05/2011
       The defendant is sentenced as provided in pages 2 through            4      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 5246
                                                                                           !~tiOOof J""gmon'
Defendant's Year of Birth:           1962

City and State of Defendant's Residence:                                                         Signature of Judge
Jacksonville, Arkansas
                                                                        J. Leon Holmes                              U.S. District JUdge
                                                                                              Name and Title of Judge

                                                                        09/27/2011
                                                                                                        Date
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 AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 2- Imprisonment

                                                                                               Judgment - Page   __
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 DEFENDANT: GWENDOLYN MCCULLOUGH
 CASE NUMBER: 4:04CR00291-10 JLH


                                                                 IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
TIME SERVED




      o The court makes the following recommendations to the Bureau of Prisons:



      tI The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
        o as notified by the United States Marshal.
      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before 2 p.m. on
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                                        RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                  to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL


                                                                           By
                                                                                        DEPUTY UNITED STATES MARSHAL
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 AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 3 - Supervised Release

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 DEFENDANT: GWENDOLYN MCCULLOUGH
 CASE NUMBER: 4:04CR00291·10 JLH
                                 SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be on supervised release for a term of :
52 MONTHS



          The defendant must repqrt to the probation office in the district to which the defendant is released within 72 hours of release
 from the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
 tests thereafter as determined by the court.
 o     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
 o     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
 o     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 o     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
 o     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION

 1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
           five days of each month;
 3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
           officer;
 4)        the defendant shall support his or her dependents and meet other family responsibilities;
 5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
           or other acceptable reasons;
 6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
           convicted of a felony, unless granted perffilssion to do so by the probation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
           confiscation of any contraband observed in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
           enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
           without the permission of the court; and
 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
           defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
           notifications and to confirm the defendant's compliance with such notificatIOn requirement.
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 AD 245D    (Rev. 1207) Judgment in a Criminal Case for Revocations
            Sheet 3A - Supervised Release

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 DEFENDANT: GWENDOLYN MCCULLOUGH
 CASE NUMBER: 4:04CR00291-10 JLH

                                         ADDITIONAL SUPERVISED RELEASE TERMS

14) The defendant will be admitted to the Recovery Centers of Arkansas facility for inpatient and outpatient treatment as
directed by the U.S. Probation Office. The defendant will remain in the custody of the United States Marshal until bed
space becomes available at the facility.

15) All general and standard conditions previously imposed remain in full force and effect.

16) The defendant must participate under the guidance and supervision of the U.S. Probation Office, in a substance
abuse treatment program which may include testing, outpatient counseling, and residential treatment. The defendant must
abstain from the use of alcohol throughout the course of treatment.
